     Case 4:20-cv-05640-YGR Document 808-8 Filed 08/20/21 Page 1 of 2



 1
                               UNITED STATES DISTRICT COURT
 2
                              NORTHERN DISTRICT OF CALIFORNIA
 3                                    OAKLAND DIVISION
 4   EPIC GAMES, INC.,                              Case No. 4:20-cv-05640-YGR-TSH
 5
                   Plaintiff, Counter-defendant, Case No. 4:11-cv-06714-YGR-TSH
 6
                                                    Case No. 4:19-cv-03074-YGR-TSH
 7                       v.
                                               [PROPOSED] ORDER GRANTING EPIC
 8                                             GAMES, INC.’S MOTION FOR
     APPLE INC.,
 9                                             ADMINISTRATIVE RELIEF TO
                                               ACCESS SEALED FILINGS IN
10                 Defendant, Counterclaimant. RELATED CASES
11                                                  Judge: Hon. Yvonne Gonzalez Rogers
     IN RE APPLE IPHONE ANTITRUST
12   LITIGATION.
13

14   DONALD R. CAMERON, et al.,

15                                    Plaintiffs,

16
                         v.
17

18   APPLE INC.,
19
                                     Defendant.
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28                     [PROPOSED] ORDER GRANTING EPIC’S MOTION
                      TO ACCESS SEALED FILINGS IN RELATED CASES
      Case Nos. 4:20-cv-05640-YGR-TSH; 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH
      Case 4:20-cv-05640-YGR Document 808-8 Filed 08/20/21 Page 2 of 2



 1                  Epic Games, Inc.’s Motion for Administrative Relief to Access Sealed Filings in

 2   Related Cases, filed on August 20, 2021, is granted. Epic is hereby granted access to unredacted

 3   versions of all sealed filings by Apple and the class plaintiffs in the related class actions.

 4                  IT IS SO ORDERED.

 5
      DATED:
 6
                                                          HON. YVONNE GONZALEZ ROGERS
 7                                                        UNITED STATES DISTRICT JUDGE
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                                               -1-
28                       [PROPOSED] ORDER GRANTING EPIC’S MOTION
                        TO ACCESS SEALED FILINGS IN RELATED CASES
        Case Nos. 4:20-cv-05640-YGR-TSH; 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH
